 

Case 3:17-cv-00072-NKM-JCH Document 1085 _ Filed 09/20/21 Page 1of8 Pageid#: 18000
IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF VIRGINIA CLERK'S OFFICE U.S, DIST. COURT
AT CHARLOTTESVILE, VA
Charlottesville Division FILED
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Elizabeth Sines, et al [ SEP 2021
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Plaintiff [ By.
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V [ Case No: 3,17-cv-072
C
Jason Kessler, et al
Defendants :

MOTION IN LIMINE FOR A DETERMINATION THAT BIAS AGAINST THOSE
WHO IDENTIFY AS "JEWS" IS NOT A FORM OF "CLASS BASED INVIDIOUSLY
DISCRIMINATORY ANIMUS" PROHIBITED BY 42 USC §1985(3)

Comes Now the Plaintiff, Christopher Cantwell, and, he Moves this Court
In Limine For A Determination That Bias Against Those Who Identify As
"Jews" Is Not A Form Of "Invidious Class Based Discriminatory Animus"

For Purposes Of 42 USC §1985(3). In support, Cantwell states as follows:

1) In this matter, Plaintiffs, who are members, supporters, or, associ-
ates of the Antifa domestic terror organization, haved sued Defend-
ants for "conspiracy to engage in violence against racial minorities
and their supporters." Sines v KesSler 324 F Supp 3d 765 (WD Va

2018) However, as the years have passed and discovery in this matter

has progressed,

Plaintiffs have been moving away in
their pleadings from describing Defendants’ animosity as being dir-
ected against "Negroes or their supporters," i.e., Republicans, the
only groups the Supreme Court has ever found protected under 42 USC
§1985(3), and, towards “religious minorities" or "jews". As binding

case law in the Fourth Circuit, Shaare Tefila Congregation v Cobb

 

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2)

785 F 2d 523 (4th Cir 1986) reversed on other grounds Shaare Tefila

 

Congregation v Cobb 107 S$ Ct 2019 (1987) finds that bias against

 

those who identify as Jews or practice Judaism is not a form of
“elass based invidiously discriminatory animus" prohibited by 42
USC §1985(3}), the Plaintiffs may not proceed in this matter under
a theory that Defendants violated 42 USC §1985 or §1986 by acting
with such bias, and, Cantwell would Tike a ruling on this issue
in limine (particularly as it will impact additional motions in

limine filed contemporaneously with or subsequently to this motion).

In Griffin v Bheckenridge 403 US 88 (1971), the Supreme Court ruled

 

that 42 USC §1985(3) reached beyond actions by state actors and

could do so Constitutionally as an extension of Congress' powers
under US Const Amend XIII §2, as well as the power to protect the
right of interstate travel. The plaintiffs in Griffin were "Negro
citizens of the United States", and, their claim was that defendants
had stopped their car in DeKalb Mississippi because of defendants'
belief that they were civil rights organizers, and, that defendants,
who were armed, had forced them out of their car, detained them, and,
beaten them. The District Court dismissed the case pursuant to .

Collins v Hardyman 341 US 651 (1950)and the Fifth Circuit affirmed,

 

finding that state action was necessary to a claim under 42 USC
§1985(3). The Supreme Court reversed, stating that:
"The constitutional shoals that woula lie in the path of inter-
preting 42 USC §1985(3) as a general federal tort Jaw can be avoid-
ed by giving full effect to the congressional purpose -- by re-
quiring, as an element of the cause of action, the kind of in-
vidiously discriminatory motivation stressed by the sponsors of
.the limiting amendment [in the 1871 Congress that passed the act].

++. The Tanguage requiring the intent to deprive of equal protect-
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jon, or equal privileges and immunities, means that there must be

some raciall! or perhaps otherwise class-based, invidiously discrim-

inatory animus behind the conspirators’ action."

Griffin.

The Court then said in a footnote that:
"We need not decide, given the facts of this case, whether a
conspiracy motivated by invidiously discriminatory intent would
be actionable under the portion of §1985(3) before us. cf Cong
Globe 42d Cong Ist Sess 567 [f1871) (remarks of Senator Edmunds)"

Griffin.

3) Several Circuit courts then latched on to the footnote referencing
the remarks of Senator: Edmunds, which were these:
"We do not understand this bill to interfere with what would be
called a private conspiracy growing out of a neighborhood feud .
of one man or set of men against another to prevent one getting
an indictment in the State courts against men for burning down
his barn; but, Tf in a case ltke this, it should appear that
this conspiracy was formed against this’ man because he was a
Democrat, if you please, or, because he was Catholic or because
he was a Methodist, or because he was a Vermonter ... then this
section would reach 7t."
Cong Globe 42d Congress Ist Sess 567 (1871).
And, as a result, a proliferation of forms of private conspiracy
that could be reached under 42 USC §1985(3) were created, from
conspiracies against followers of political candidates to conspir-
acies against women who want abortions.to conspiracies against cult

deprogrammers.

4) In this chaos, the Fourth Circuit ruled that religious discrimination
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was a form of “class based invidiously discriminatory animus" that
could form the basis of a conspiracy proscribed by 42 USC §1985(3).
Ward v Connor 657 F 2d 45 (4th Cir 1981). Ward has not been cited
by the Fourth Circuit since 1985 and, as explained infra, is no

longer good law. see, eg, Trerice v. Summans 755 F 3d 1081 (4th Cir

 

1985) (refusing to recognize “military prisoners" as a protected

class under 42 USC §1985(3), citing Ward in dicta).

To clean up the mess created by Griffin, in 1983,: the Supreme Court

decided United Brotherhood of Carpenters And Joiners v Scott ("Unit-

ed Brotherhood") 463 US 825 (1983). In United Brotherhood, a group

 

Of union employees attacked the job site of a company using non-
union labor, The company and two of the laborers who had been at-
tacked then sued the union under 42 USC §1985(3), claiming that the
union had conspired to violate their rights under US:CénsttAmend I

and XiV¥i"- United Brotherhood. The Supreme Court found that no such

 

claim existed, as US Const Amend I and XIV protect rights guaranteed

against state action, not the action of private individuals. United

Brotherhood. This, in turn, differentiates conspiracies against

speech, religion, or, association, the rights guaranteed under US
Const Amend I, from conspiracies such as the one alleged in Griffin,
which arosé@: undér US: Const Aménd Xti1, which: prohibits: slavery: both

by private and state actors. United Brotherhood. In describing

 

the scope of conspiracies prohibited by 42 USC §1985(3), the Supreme.
Court then also found that:
"It is a close question whether §1985(3) was intended to reach any
class based animus other than the animus against Negroes and those
who championed the same, most notably Republicans."

United Brotherhood.

 

This then ted to. Shaare Tefila Congregation ("Shaare Téfila"}. In

 

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Shaare Jéfila, a man vandalized a synagogue in Silver Spring, Mary-
land by spraypainting anti-Judaic slogans on its outer wails. The
congregation sued under 42 USC §1981, §1982, and, §1985(3). Shaare
Téfila. The District Court dismissed the case because "Jews" were
not a race for purposes of 42 USC §1981, $1982, or §1985(3), stat-
utes which, Tt should be noted, were passed as part of different

acts by different Congresses and cannot necessarily be read together.
Shaare Tefila. The Fourth Circuit affirmed, and, the Supreme Court
granted certiorari only on the question of whether or not "Jews* were
a "race" for purposes of 42 USC §1982, which is privately enforce-

able. Shaare Tefila citing Jones v Alfred H Mayer Co 392 US 409

 

(1968}°. The Supreme Court then concluded that "Jews" were a race
for purposes of 42 USC §1982, leaving undisturbed the decision that
bias against those who identify as “Jews" was not a form of “class
based invidiously discriminatory animus" prohibited by 42 USC
§1985(3), leaving that the law in this Circuit which this Court is

bound to apply.

And, the current Taw that bias against "Jews" is not a form of "class
based invidiously discriminatory animus" prohibited by 42 USC §1985(3)
is correct. Ruling otherwise opens up a can of worms that the Court

should not open.

At the same time that Shaare Téfila was decided, the Court decided

St Francis v al-Khazraj 481 US 604 (1987). In al-Khazraj, the Plaint-
iff sued a university for discriminating against him based upon race,
religion, and, national identity under 42 USC §1981. The Court ruled
that these various slices of his identity had to be pulled apart;

that al-Khazraj could proceed under the theory that he was discrim-

inated against because of his race (Arab), but, not because of his
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religion (Islam) or national identity (Iraqi). Al-Khazraj. Sim-
ilarly, in United States v Diggins 435 F Supp 3d 268 (4th Cir 2019),
the Fourth Circuit found that "racially motivated violence" was an
"incident and bage of slavery", citing to the Matthew Shepherd And
James Byrd Jr Hate Crimes Prevention Act Oct 28, 2009, PL 111-87 Div
E 123 State 2190, but, did not extend this ruling to "religiously
motivated violence." Thus, should the Court believe that the bind-
ing precedent of Shaare Téfila is somehow not binding on this Court,
it will have to separate the various forms of animus against "Jews"
displayed by the defendants in this matter and craft an instruction
limiting the jury to finding a form of animus based on race, rather

then any other form of Judaic identity,a thin slice to cut.

Because bias against "Jews" is not a form of "class based invidiously
discriminatory animus" that can form the basis of a private 42 USC
§1985(3) claim, because Jews are not Negroes or Republicans (at least
not in theory), the only two classes protected under US Const Amend
XIII as applied to 42 usc §1985(3), and, because the animus here
against Jews was not racial or religious but economic, cultural,

and political, this Court shoud] find that the Plaintiffs may not,
at trial, pursue a theory of liability under 42 usc §1985(3) or

42 USC §1986 that involves a motive of bias against those who ident-

ify as Jews.

Respectfully Submitted,

 
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CERTIFICATE OF SERVICE

I hereby certify that this Motion in Limine was mailed to the Clerk of
the Court, 1st Class Postage prepaid, this 7th day of September, 2021,

for posting on the ECF, to which all parties are subscribed.

Christopher Cantwell
USP-Marion

PO Box 1000

Marion, IL 62959

 
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